        Case 2:09-cr-00196-KJM Document 32 Filed 10/15/09 Page 1 of 2
 1   PETER KMETO
     Attorney at Law
 2   State Bar No. 78827
     1007 Seventh Street, Suite 318
 3   Sacramento, CA 95814
     (916) 444-7420; FAX: (916) 441-6714
 4
     Attorney for: MICHAEL LEON W ILLIAMS
 5

 6                      IN THE UNITED STATES DISTRICT COURT

 7                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                      )    No. CR-S-09-196 GEB
                                                    )
10                      Plaintiff,                  )
                                                    )    STIPULATION AND ORDER
11         vs.                                      )    CONTINUING STATUS
                                                    )    HEARING
12   MICHAEL LEON W ILLIAMS, et. al.                )
                                                    )
13                      Defendant.                  )
                                                    )
14

15         Defendants: MICHAEL LEON W ILLIAMS and PIERCE ALEXANDER

16   DANDRIGE, through their respective attorneys, PETER KMETO, and

17   CHRISTOPHER HAYDN-MYER, and the United States of America, through its

18   counsel of record, SEAN C. FLYNN, stipulate and agree to the following:

19         1. The presently scheduled date of October 16, 2009 for Status Hearing shall

20         be vacated and said Hearing be rescheduled for December 11, 2009 at 9:00

21         a.m..

22         2. Defense counsel’s review of voluminous discovery continues and defendant,

23         MICHAEL LEON WILLIAMS, has been scheduled for major surgery which may

24         have an impact on future scheduling and status of the case. Accordingly, the

25         parties stipulate that time be excluded pursuant to 18 U.S. C.

26         §3161(h)(8)(B)(iv) [Local Code T4] – additional time to adequately prepare

27         for pretrial proceedings.

28                                            -1-
        Case 2:09-cr-00196-KJM Document 32 Filed 10/15/09 Page 2 of 2
 1         IT IS SO STIPULATED.

 2   Dated:   October 14 , 2009                     /s/ SEAN C. FLYNN
 3                                                 Assistant U.S. Attorney
                                                   for the Government
 4

 5
     Dated:   October 14, 2009                      /s/ PETER KMETO
 6
                                                   Attorney for Defendant
 7                                                 MICHAEL LEON W ILLIAMS

 8

 9
     Dated:   October 14, 2009                     /s/ CHRISTOPHER HAYDN-MYER
10                                                 Attorney for Defendant
11                                                 PIERCE ALEXANDER DANDRIGE

12
                                           ORDER
13

14               UPON GOOD CAUSE SHOW N and the stipulation of all parties, it is

15   ordered that the hearing for STATUS HEARING be continued as set forth above.

16               The Court finds excludable time pursuant to 18 U.S.C. § 3161(h)(8)(A)
17   and Local Rule T-4 until December 11, 2009 for continuity of defense counsel and
18   time to permit defense counsel to prepare and properly advise his client.
19
     Dated: October 14, 2009
20

21

22
                                         GARLAND E. BURRELL, JR.
23                                       United States District Judge

24

25

26

27

28                                           -2-
